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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

INRE: OIL SPILL by the OIL RIG § MDL NO. 2179
“DEEPWATER HORIZON” §
in the GULF OF MEXICO § SECTION: J
on APRIL 20, 2010 § :
§ JUDGE BARBIER
This Document Relates to: §
§
Liem V. Do, et al. v. § MAG. JUDGE SHUSHAN
| BP PLC, et al §
EDLA No. 10-3180 §

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregaing Motion,

IT |[S HEREBY ORDERED that Plaintiffs’ KIM DUONG, LUCY SIMON, TUYET
NGUYEN, JACKLYN PHENGSISOMBOUN, HUNG NGUYEN, RODERICK SIMONS,
HEN LAM, LEHA TRAN, THANG LAM, TRI DUONG, and DUONG DOAN’S Motion for
Leave of Court to Voluntarily Dismiss Claims Without Prejudice is hereby in all things is
GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiffs KIM DUONG,
LUCY SIMON, TUYET NGUYEN, JACKLYN PHENGSISOMBOUN, HUNG NGUYEN,
RODERICK SIMONS, HEN LAM, LEHA TRAN, THANG LAM, TRI DUONG, and
DUONG DOAN only, as listed on Exhibit “A” attached to said Motion are hereby
dismissed without prejudice. This Order in no way affects the claims of the remaining
Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2011.

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HONORABLE CARL J. BARBIER
